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 UNITED STATES DISTRICT COURT
 EASTE,RN DISTRICT OF NEW YORK
 x------------              -----------------x
 MIGUEL LoPBz,Individually and on behalf of             Civil ActionNo.    17   CV 1668 (ARRXCLP)
 similarly situated,
                         Plaintiffs,

         -against-                                             DECLARATION OF
                                                               ROYA MOGHADASSI-WEISS

 ANGELITO AUTO REPAIR, INC. (D/B/A
 ANGELITO AUTO REPAIR), ANGELITO
 GUZMAN

 x.____._.._..                  _?.:1::1_Tl:.__
                                                  "

 ROYA MOGHADASSI-WEISS, hereby declares:

         1.     I am the attomey for defendants in this action   and   I am admitted to practice before
 this Court.

         2.     This declaration is submitted in support of defendants' motion for an order
 vacating the default entered by clerk of court, pursuant to Rule 59 (c) of Federal Rules of Civil
 Procedure.

          3. Attached hereto as Exhibit A is a copy of the search result from NYS Department
 of State, Division of Corporations, showing that Angelito Auto Repair, Inc. is not incorporated in
 this state.

         4.       Attached hereto as Exhibit B is a copy of the search result from NYS Department
 of State, Division of Corporations, showing all the active or inactive business entities containing
 the name "Angelito," which excludes there named corporate defendant in the instant action,
 Angelito Auto Repair, Inc.


         Executed on May 4,2018, New York, New York

         I declare under penalty of perjury that the foregoing is true and correct.


                                                               lsl
                                                        Roya Moghadassi-Weiss, Esq. (RM9643)
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                               EXHIBIT A
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                                                                    I




   NYS Department of State

   Division of Corporations


   Informational Message

   The     ffirnration contained           in this database is current through March      6,2018.




                                   No business entities were fornd for Angelito auto repair inc.

                                                    Please refine your search criteria.

                                                  To continue please do the following:

                                           Thb to Ok and press the Enter key or Click Ok.



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                               EXHIBIT B
3nln18     Case 1:17-cv-01668-ARR-CLP Document Search Results
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   NYS Department of State

   Division of Corporations


   Search Results

  The    ffirmation contained               in this database is current through March 6, 2018.



                                                     A total of7 entities were found.

                                                               Entify Name
                                             ANGELITO CONSTRUCTION INC.
                                             ANGELITO D. TAN, MD, P.C.
                                             ANGELITO ruSAY PHOTOGRAPHY                 Lrc
                                             ANGELITO L. SEBOLLENA, M.D., P.C.
                                             ANGELITO REALIY CORP.
                                             ANGELITO RESTAURANT INC.
                                             ANGELITO'S MEXICAN GROCERY, INC
                                                        Entities I to 7




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                         to the entrty narre and press the enter key or click on the entity name.
                         To revise your search criteria, tab to Revise Search Criteria and press
                        the enter key or click on Revise Search Criteria. To start a new searcln,
                          tab to New Search and press the enter key or click on New Searctr"
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  4124t2018
                 Case 1:17-cv-01668-ARR-CLP Document 32Search
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                                                              Results



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